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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7

                                   8       IN RE APPLICATION OF TATIANA                    Case No. 20-mc-80156-VKD
                                           AKHEMDOVA,
                                   9                    Applicant.                         AMENDED ORDER RE EX PARTE
                                  10                                                       APPLICATION FOR DISCOVERY
                                                                                           PURSUANT TO 28 U.S.C. § 1782
                                  11
                                                                                           Re: Dkt. No. 17
                                  12
Northern District of California
 United States District Court




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                                  14          The parties having advised that they resolved their disputes concerning discovery sought

                                  15   by Tatiana Akhemdova (Dkt. Nos. 9, 10), the Court previously granted Ms. Akhmedova’s ex parte

                                  16   application for an order pursuant to 28 U.S.C. § 1782 authorizing service of a subpoena for

                                  17   documents on Google LLC (“Google”). Dkt. No. 12. Ms. Akhmedova now requests an amended

                                  18   order to correct a clerical error—namely, to correct an email address,

                                  19   temur.akhmedov@gmail.com, to temur.akhmedov1993@gmail.com. Dkt. No. 17. Because the

                                  20   correction Ms. Akhemdova seeks is clerical in nature,1 the Court sees no need for further briefing

                                  21   or hearing on the matter. Ms. Akhemdova’s request for an amended order is granted. The Court

                                  22   hereby amends its prior order as follows:

                                  23          The Court grants Ms. Akhemdova’s § 1782 application and authorizes service on Google

                                  24   of a subpoena for the following information:

                                  25          a) All non-content electronically stored information (“ESI”), including but not limited to

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                                         Although the incorrect email address appears in Ms. Akhemdova’s proposed order on her
                                  28   original application (Dkt. No. 4), she notes that the correct address is the one to which Mr. Riem
                                       attests in his declaration submitted in support of the original application (Dkt. No. 2 ¶ 28).
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                                   1          all metadata and subscriber information for the following email accounts:

                                   2                    i) temur@akhmedov.net;

                                   3                    ii) temur@stecapital.net;

                                   4                    iii) khyshen@gmail.com;

                                   5                    iv) temur.akhmedov1993@gmail.com;

                                   6                    v) any other email address where Temur Akhmedov is determined to be the

                                   7                    subscriber or account holder.

                                   8          b) All emails, documents or information regarding the above-listed accounts which

                                   9          would ordinarily be recoverable to a subscriber or account holder through the account

                                  10          recovery process with Google or based on the consent of the subscriber or account

                                  11          holder.

                                  12          Inasmuch as this amended order simply corrects a clerical error, Google shall produce the
Northern District of California
 United States District Court




                                  13   requested documents and information by the November 6, 2020 deadline previously stipulated by

                                  14   Ms. Akehmdova and entered as an order by the Court. Dkt. No. 16. Google shall produce the

                                  15   documents directly to the independent IT forensic expert appointed by the English Court, Aon,

                                  16   whose contact information for such production shall be provided by Ms. Akhmedova. Google

                                  17   shall preserve documents, information and evidence, electronic or otherwise, in its possession,

                                  18   custody or control that contain information potentially relevant to the subject matter of the Ms.

                                  19   Akhmedova’s request.

                                  20          This order does not foreclose a motion to quash or further modify the subpoena following

                                  21   service, or a motion to enforce the subpoena.

                                  22          IT IS SO ORDERED.

                                  23   Dated: October 27, 2020

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                                                                                                    VIRGINIA K. DEMARCHI
                                  26                                                                United States Magistrate Judge
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